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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

 RONTEZ MILES,
                                                Civil Action No. 2:19-cv-18327-CCC-MF
                   Plaintiff,
                                                      JUDGE CLAIRE C. CECCHI
       v.                                               JUDGE MARK FALK

 THE NATIONAL FOOTBALL LEAGUE                    (ORAL ARGUMENT REQUESTED)
 and JOHN DOES 1-5, JOHN DOES 6-10,
                                                    Motion Day: September 8, 2020
                   Defendants.



            MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
            MOTION TO DISMISS THE FIRST AMENDED COMPLAINT

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                                         INTRODUCTION

        Plaintiff Rontez Miles (“Plaintiff”), a professional football player, filed this action against

 the National Football League (“NFL”) for personal injuries allegedly sustained while playing in

 an NFL game. Plaintiff contends that the NFL should have allowed him to wear a tinted face

 shield, despite his failure to follow the League’s collectively-bargained rules to obtain approval

 to use this equipment. The NFL moved to dismiss, because Plaintiff’s claims were preempted by

 the Labor Management Relations Act and barred by workers’ compensation exclusivity, and his

 complaint failed to state a claim for disability discrimination under the New Jersey Law Against

 Discrimination (“LAD”) or the Americans with Disabilities Act (“ADA”).

        This Court granted leave to amend the complaint based upon Plaintiff’s claim that “new

 facts” had come to light. Yet the crux of these new allegations—that the NFL “waived any

 clause of the CBA… requiring Plaintiff to obtain specific permission from the NFL to use [a]

 protective shield while practicing or playing,” (Am. Compl. ¶¶ 32, 33, 80, 81) and that it had a

 duty to protect Plaintiff from injury in the context of his employment under the CBA (Id. ¶¶ 70-

 72) —only serves to further confirm that his claims must be dismissed. It is well-established that

 federal labor law preempts state law claims, such as those made here, that are “inextricably

 intertwined” with the terms of a collective bargaining agreement. And even if that were not the

 case, the sole remedy for Plaintiff’s occupational injury claims would lie under the state workers’

 compensation system. Plaintiff’s disability claims likewise fail, because he has yet to plead facts

 necessary to support such claims. And Plaintiff’s “new” claims—his request that the Court

 declare that the NFL has waived certain CBA rights and determine the conduct he complains of

 is outside of the scope of the CBA—plainly fail under the same preemption principles that doom

 his other claims. Plaintiff’s Amended Complaint thus fails to cure the deficiencies in his original



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 pleading, and instead merely confirms that the entire complaint should be dismissed with

 prejudice.

                                         BACKGROUND

        A.      Plaintiff’s Employment Under The NFL Collective Bargaining Agreement

        Plaintiff is a professional football player employed by the New York Jets (“Jets”). Am.

 Compl. ¶¶ 7-8, 12. The NFL is a professional sports league consisting of thirty-two Clubs,

 including the Jets. Id. ¶¶ 3, 5. The National Football League Players Association (“NFLPA”) is

 the exclusive bargaining representative of all NFL players, including Plaintiff. Id. ¶ 7.

        Plaintiff, the Jets, and the NFL are all bound by a collective bargaining agreement

 (“CBA”) governing the terms and conditions of employment of NFL players. Id. ¶ 8.1 The CBA

 “represents the complete understanding of the parties on all subjects covered herein, and there

 will be no change in the terms and conditions of this Agreement without mutual consent.”



        1
           The court may consider the CBA and Official Playing Rules because Plaintiff expressly
 refers to and relies on them in his Amended Complaint, and because they are integral to
 Plaintiff’s allegations that the NFL “waived” provisions or requirements in the CBA or the
 Official Playing Rules. See, e.g., Am. Compl. ¶ 8 (alleging that Plaintiff’s employment “was in
 accordance with a collective bargaining agreement between the NFL and the NFLPA”); ¶¶ 9-11
 (referencing NFL rules, regulations, policies and procedures, including uniform and equipment
 rules); ¶¶ 32-34. In resolving a motion to dismiss, courts may analyze documents that are
 “integral to or explicitly relied upon in the complaint” without converting the motion into one for
 summary judgment. In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir.
 1997) (citation omitted); see also Prima v. Darden Rests., Inc., 78 F. Supp. 2d 337, 342-43
 (D.N.J. 2000) (considering a commercial at issue in an action for wrongful imitation as “referred
 to in the complaint”); Sullivan v. Sovereign Bancorp., Inc., No. Civ. A. 99-5990. 2001 WL
 34883989, at *4 (D.N.J. Jan. 19, 2001) (incorporating merger agreement and its affiliated
 agreement based on plaintiffs’ “frequent reference” to the documents and their relation to
 plaintiffs’ theory of the case), aff’d, 33 F. App’x 640 (3d Cir. 2002). “Otherwise, a plaintiff with
 a legally deficient claim could survive a motion to dismiss simply by failing to attach a
 dispositive document on which it relied.” Pension Benefit Guar. Corp. v. White Consol. Indus.,
 Inc., 998 F.2d 1192, 1196 (3d Cir. 1993); Dykes v. Se. Pa. Transp. Auth., 68 F.3d 1564, 1566 n.3
 (3d Cir. 1995) (considering collective bargaining agreement omitted from the plaintiff’s
 complaint on motion to dismiss where the complaint, “while framed in constitutional terms,
 grows out of an alleged violation of the CBA”).

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  Attachment A to the Declaration of Lawrence P. Ferazani, Jr. in Support of Notice of Removal

  (ECF No 1-2)) (“CBA”), Art. 2, § 4(a). The CBA governs the respective rights and

  responsibilities of the NFL, the Clubs, the NFLPA, and the players with respect to, among other

  subjects, player health and safety, player attire and equipment, and the remedies and benefits

  available to players in the event of an injury sustained while performing services under an NFL

  Player Contract, including during the course of an NFL game. Am. Compl. ¶¶ 8-9; see, e.g.,

  CBA, Art. 41, § 1, Art. 51, § 2. The CBA also requires all NFL players and Clubs to use the

  standard NFL Player Contract, which is incorporated into the agreement. See CBA Art. 4, § 1,

  70 § 7, App. A (“NFL Player Contract”).

         The CBA obligates all NFL players and Clubs to follow the rules promulgated by the

  NFL concerning the operation of the game. See Am. Compl. ¶¶ 5, 9 (alleging that the NFL

  “promulgated rules, regulations, policies and procedures controlling most aspects of each teams’

  business conduct, their players and staff,” including rules “which players such as Plaintiff are

  required to follow in order to play football in the NFL”); CBA Art. 1 (defining “NFL Rules”);

  NFL Player Contract ¶ 14. The NFL Rules set forth detailed standards for player equipment and

  uniforms. See 2017 Official Playing Rules of the NFL, Exhibit 1 to the Declaration of Lawrence

  P. Ferazani Jr. (ECF No. 4-3) (“Official Playing Rules”). Relevant here, the Official Playing

  Rules specifically address the type of equipment, including eye shields, that players may wear

  during games, as well as the procedures that players must follow to obtain approval to use such

  equipment:

         Item 1. Helmet, Face Protectors. Helmet with all points of the chin strap (white
         only) fastened and facemask attached. Facemasks must not be more than ⅝-inch
         in diameter and must be made of rounded material; transparent materials are
         prohibited. Clear (transparent) plastic eye shields are optional. Tinted eye shields
         may be worn only after the League office is supplied with appropriate medical



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         documentation and approval is subsequently granted. The League office has
         final approval.

  See Official Playing Rules, Rule 5, Section 4, Article 3 (emphasis added). The Official Playing

  Rules also describe the consequences for noncompliance with the NFL’s uniform and equipment

  standards. For violations “discovered during pregame warm-ups or at other times prior to the

  game, player will be advised to make appropriate correction; if the violation is not corrected,

  player will not be permitted to enter the game.” See Official Playing Rules, Rule 5, Section 4,

  “Penalties.”

         The CBA also contains numerous provisions that expressly govern the parties’ rights and

  obligations regarding player health, safety, and medical care. For example, the CBA includes

  detailed provisions regarding players’ rights to medical care and treatment, and the obligations of

  Clubs and their doctors in the provision of this care. See CBA Art. 39, §§ 1-2. It also establishes

  a joint “Accountability and Care Committee” that provides “advice and guidance regarding the

  provision of preventative, medical, surgical, and rehabilitative care for players” (CBA Art. 39,

  § 3), as well as a “Joint Committee on Player Safety and Welfare” that is tasked with

  responsibility and oversight for “any subject related to player safety and welfare,” including

  “playing equipment” and “playing rules.” CBA Art. 50, § 1.

         The CBA mandates that “[a]ny dispute” “involving the interpretation of, application of,

  or compliance with, any provision of” the CBA, the NFL Player Contract, and “any applicable

  provision of the NFL Constitution and Bylaws or [the Official Playing Rules] pertaining to the

  terms and conditions of employment of NFL players” must “be resolved exclusively in

  accordance with” bargained-for arbitration procedures. CBA Art. 43, § 1.




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         B.      Plaintiff’s Allegations

         Plaintiff alleges that he suffers from a medical condition known as alopecia areata, which

  he claims causes him to experience ocular photosensitivity and photophobia and limits his ability

  to see well in sunlight or artificial light. Am. Compl. ¶¶ 13-15, 41. Plaintiff asserts that in order

  to reduce the effects of the ocular photosensitivity and photophobia while playing football, he

  requires the use of a protective shield in conjunction with his helmet and face guard. Id. ¶ 23.

         The Amended Complaint alleges that before the start of an August 19, 2017 preseason

  game against the Detroit Lions, an equipment judge refused to permit him to play in the game

  unless he removed the shield. Id. ¶¶ 35-36. Plaintiff admits that he did not seek an

  accommodation through the process required by the Official Playing Rules, which required him

  to submit medical documentation establishing the need for a tinted eye shield. See generally id.

  ¶¶ 5-45. Instead, Plaintiff alleges that “[t]hrough the actions/inactions” of NFL equipment

  judges, the NFL “tacitly or implicitly approved Plaintiff’s use of the protective shield” and

  “waived any clause of the CBA or other policy, procedure or rule prohibiting Plaintiff from using

  the protective shield” or “requiring Plaintiff to obtain specific permission from the NFL to use

  the protective shield.” Id. ¶¶ 32-34.

         Plaintiff played in the game without the shield and alleges that, “due to the lack of

  protection from the stadium lights, [he] did not see an opposing player approach, and hence, was

  unable to take defensive maneuvers.”2 Am. Compl. ¶¶ 45-46. He states that, as a result, “[t]he

  opposing player [made contact with] Plaintiff’s face causing severe and significant injury,”

  including a “broken orbital bone of the right eye.” Id. ¶¶ 47-48.



         2
           In his original complaint, Plaintiff alleged his injury was caused by the “lack of
  protection from the bright sun.” See Compl. ¶ 28 (ECF No. 1-1). However, the August 19, 2017
  preseason game was played at night at Ford Field, an indoor stadium.

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         C.      Procedural History

         Plaintiff filed this action in the Superior Court of New Jersey two years after his injury,

  asserting claims for (1) disability discrimination under the New Jersey Law Against

  Discrimination (“LAD”), (2) failure to provide a reasonable accommodation under the LAD and

  the Americans with Disabilities Act (“ADA”), and (3) negligence. See Compl. (ECF No. 1-1).

  The NFL timely removed the case to this Court on the basis of federal question jurisdiction and

  moved to dismiss the Complaint in its entirety. See ECF Nos. 1, 4. In his Opposition to the

  NFL’s Motion to Dismiss, Plaintiff requested leave to amend his Complaint because it was filed

  under the more lenient state court notice pleading standard and because additional “relevant”

  facts came to light after he filed the original Complaint. See ECF No. 15. Based on Plaintiff’s

  representations, the Court administratively terminated the NFL’s Motion to Dismiss and granted

  Plaintiff leave to amend his Complaint. ECF No. 21.

         On June 23, 2020, Plaintiff filed an Amended Complaint asserting a handful of new

  factual allegations that Plaintiff had attempted to introduce improperly through his Opposition to

  the NFL’s Motion to Dismiss. See ECF No. 22. As in his initial Complaint, Plaintiff claims that

  his medical condition constitutes a “disability” and that he sought a “reasonable accommodation”

  (the use of the protective shield) to enable him to “perform the requirements of his job.” Am.

  Compl. ¶¶ 42-43. By directing him to remove the shield, Plaintiff claims that the NFL “through

  its official denied Plaintiff a reasonable accommodation” in violation of the LAD and the ADA.

  Id. ¶¶ 44, 63-68. Plaintiff further contends that the NFL, through the conduct of its officials,

  “breached its duty of care owed to Plaintiff to help him avoid injury while playing football” and

  is liable under a theory of respondeat superior. Id. ¶¶ 70, 78. Plaintiff claims that, as a result of

  the NFL’s alleged conduct, he “suffered injury including but not limited to severe personal

  injury, severe emotional distress and economic/pecuniary injuries.” Am. Compl. ¶¶ 62, 68; see

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  also id. ¶ 71 (alleging that he suffered “severe and permanent personal injuries” as a result of the

  NFL’s negligence).

         The Amended Complaint also purports to assert three new claims: (1) that the NFL

  “waived” any CBA provisions or NFL rules concerning Plaintiff’s use of a protective shield by

  permitting Plaintiff to use his protective shield for three seasons without specific approval by the

  league (Am. Compl. ¶¶ 79-81); (2) that Plaintiff’s claims “do not require interpretation of the

  CBA” and “are not dependent on an interpretation of the CBA concerning general player safety

  and health” (Am. Compl. ¶¶ 82-84); and (3) that members of NFL upper management (John

  Does 6-10) “aided and abetted the NFL in violating the LAD and the ADA” (Am. Compl. ¶¶ 85-

  90).


                                             ARGUMENT

  I.     PLAINTIFF’S STATE LAW CLAIMS ARE PREEMPTED BY THE LMRA

         Section 301 of the Labor Management Relations Act, 29 U.S.C. § 185(a), preempts state

  law claims where, as here, the claims are “substantially dependent” on, or “inextricably

  intertwined” with, the terms of a collective bargaining agreement. See Allis-Chalmers Corp. v.

  Lueck, 471 U.S. 202, 210-11, 213, 220 (1985); Teamsters Local 174 v. Lucas Flour Co., 369 U.S.

  95, 103 (1962). “The question in a preemption analysis is not whether the source of a cause of

  action is state-law,” but rather “whether resolution of the cause of action requires interpretation

  of a collective bargaining agreement.” Snyder v. Dietz & Watson, Inc., 837 F. Supp. 2d 428, 439

  (D.N.J. 2011); see also Angst v. Mack Trucks, Inc., 969 F.2d 1530, 1536 (3d Cir. 1992) (federal

  law preempts state law “if the resolution of a state-law claim depends upon the meaning of a

  collective bargaining agreement” (citation omitted)). This includes documents incorporated by

  reference into the CBA, such as the CBA-prescribed NFL Player Contract and the Official


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  Playing Rules. See Maher v. N.J. Transit Rail Operations, Inc., 593 A.2d 750, 763-64 (N.J.

  1991) (state law discrimination claims preempted where resolution of the claims depended on

  safety rules incorporated into the CBA); Carluccio v. Parsons Inspection & Maint. Corp., No.

  06-4354 (JLL), 2007 WL 1231758, at *4 (D.N.J. Apr. 24, 2007) (state law claim preempted

  where resolution was dependent on analysis of defendant’s “policies and procedures,” which

  were incorporated by reference into the CBA).

         Plaintiff’s Amended Complaint asks this Court to determine the parties’ rights and

  obligations under their collective bargaining agreement, both with respect to whether the NFL

  owed (and breached) a duty of care to Plaintiff, and whether Plaintiff can establish a valid claim

  of disability discrimination in light of the Official Playing Rules applicable to his request to wear

  a face shield. Specifically, Plaintiff’s claims concern an injury that he asserts was caused when,

  in accordance with the Official Playing Rules, an NFL equipment judge refused to allow him to

  wear an eye shield during an NFL game. Because these allegations are inextricably intertwined

  with the CBA and incorporated Official Playing Rules, the LMRA preempts Plaintiff’s state law

  claims and requires that this dispute be resolved exclusively through the arbitration procedures

  set forth in the CBA.

         A.      Plaintiff’s Negligence Claim Is Preempted By The LMRA

         To establish a claim for negligence, Plaintiff must prove that the NFL owed him a duty of

  care and breached that duty of care when the NFL equipment judge responsible for enforcing the

  rules refused to permit him to play in the game with his protective eye shield. Robinson v.

  Vivirito, 86 A.3d 119, 124 (N.J. 2014) (negligence claim requires establishment of a duty of care

  owed by the defendant to the plaintiff and a breach of that duty). Section 301 preempts

  negligence claims where, as here, the court must interpret the CBA to determine the “nature and

  scope of [any] duty” of care that the defendant agreed to assume and whether the defendant, by

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  its actions, breached that duty. See Int’l Bhd. of Elec. Workers v. Hechler, 481 U.S. 851, 862

  (1987); Snyder, 837 F. Supp. 2d at 442-43 (plaintiff’s state law tort claims preempted where

  evaluation of the parties’ respective rights and expectations required interpretation of the CBA).

         Plaintiff contends that the NFL maintains a duty of care “to help him avoid injury while

  playing football” and breached that duty when an equipment judge prohibited him from wearing

  a protective shield pursuant to League rules. Am. Compl. ¶¶ 70-78. But whether the NFL has a

  duty to “help [Plaintiff] avoid injury,” if any, in this context, can only be ascertained by

  interpreting provisions in the CBA and Official Playing Rules, which carefully allocate

  responsibilities for player safety and medical care among the NFL, the NFLPA, the Clubs, the

  Club physicians, and the players.

         Numerous courts have found negligence claims like Plaintiff’s preempted where NFL

  players have alleged that the League breached a “duty of care” that purportedly resulted in

  personal injury. For example, in Maxwell v. National Football League, No. CV 11-08394 (C.D.

  Cal. Dec. 8, 2011) (ECF No. 58), slip op. at 1-2, the court held that resolution of a player’s

  negligence claim based on game-related injuries was “inextricably intertwined with and

  substantially dependent upon an analysis of certain CBA provisions imposing duties on the clubs

  with respect to the medical care and treatment of NFL players.” Ex. 1 to R. Hernandez

  Declaration (ECF No. 4-5). Noting that “[t]he CBA places primary responsibility for identifying

  [] physical conditions on the team physicians,” the court concluded that the claim was preempted

  because those provisions, as well as provisions relating to the Club athletic trainers, must be

  considered to determine “the degree of care owed by the NFL and how it relates to the NFL’s

  alleged failure” to satisfy that duty. Id.; see also Williams v. Nat’l Football League, 582 F.3d

  863, 881 (8th Cir. 2009) (finding negligence claims against the NFL for allegedly failing to warn



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  players about the harmful effects of a dietary supplement preempted where the duty of care could

  not be determined “without examining the parties’ legal relationship and expectations as

  established by the CBA and the [Steroid] Policy.”); Duerson v. Nat’l Football League, No. 12 C

  2513, 2012 WL 1658353, at *3-4 (N.D. Ill. May 11, 2012) (scope of NFL’s liability for

  negligence claims based on player injuries requires interpretation of CBA provisions to

  determine whether they “impose a duty on the NFL’s clubs to monitor a player’s health and

  fitness to continue to play football,” allowing the NFL, in turn, to “reasonably exercise a lower

  standard of care.”); Stringer v. Nat’l Football League, 474 F. Supp. 2d 894, 910 (S.D. Ohio

  2007) (holding negligence claims preempted because CBA interpretation was required to

  determine if any provisions “diminished” the “degree of care” that the NFL might otherwise owe

  to the player).

          The same principles apply here. To resolve Plaintiff’s negligence claim, the provisions of

  the CBA must be interpreted to determine the NFL’s duty to Plaintiff (if any) in light of the

  CBA’s allocation of responsibilities between the Union, the Club, the Club physician, the Joint

  Committee, the Accountability and Care Committee, and Plaintiff himself. For example, the

  Court must determine whether the NFL assumed and then breached a duty that the CBA and the

  Official Playing Rules specifically delegate to the Clubs or, instead “reasonably rel[ied] on the

  club[]” and the Player to request an exemption for a protective eye shield if one was necessary.

  Duerson, 2012 WL 1658353, at *4. To do so, the Court must interpret not only the specific rules

  governing the use of tinted visors, but also those provisions of the CBA expressly assigning

  responsibility for player health and safety issues to other parties. This includes Article 50 of the

  CBA, which provides for a “Joint Committee on Player Safety and Welfare” comprised of Club

  and NFLPA representatives responsible for oversight of “any subject related to player safety and



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  welfare,” including “playing equipment” and “playing rules, “ CBA Art. 50, § 1, as well as

  Article 39 discussing the role of the Accountability and Care committee and assigning medical

  care responsibilities to Club physicians and athletic trainers. See, e.g., CBA Art. 39, §§ 1-3; App.

  A ¶ 9.3

            Plaintiff attempts to plead around preemption by contending that his claims do not

  require interpretation of the CBA. Am. Compl. ¶¶ 82-84. But Plaintiff’s Amended Complaint

  merely confirms that Plaintiff’s claims are preempted, and cannot, as a matter of law, preclude

  dismissal on preemption grounds.4 Indeed, by asserting in Count Four that Defendants “waived

  any provision or requirement in the Collective Bargaining Agreement, the [Official Playing]

  Rules and other related documents,” Am. Compl. ¶¶ 79-81, Plaintiff concedes that those

  provisions directly govern his claims here.

            Plaintiff cannot avoid preemption simply by asking this Court, rather than the collectively

  bargained-for arbitrator, to interpret these CBA provisions. To the contrary, “a central tenet of

  federal labor-contract law under § 301 [is] that it is the arbitrator, not the court, who has the

  responsibility to interpret the labor contract in the first instance,” and once a claim is deemed



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            The CBA and incorporated NFL Player Contract also comprehensively address the
  remedies available to players injured while playing football, which include: (1) the right to
  medical and rehabilitative care (CBA Art. 39; NFL Player Contract ¶ 9); (2) the guarantee of
  minimum workers’ compensation benefits (CBA Art. 41); (3) the player’s right to continued
  payment of his salary while injured for the duration of the season of injury (CBA Art. 44; NFL
  Player Contract ¶ 9); and (4) certain protection against the loss of salary beyond the season of
  injury (CBA Art. 45). These provisions, too, must be construed to determine what damages, if
  any, Plaintiff would be entitled to.
          4
            Because “plaintiffs often [attempt] to avoid federal jurisdiction under § 301 by framing
  their complaints in terms of…diverse state law theories,” Pilkington v. United Airlines, 112 F.3d
  1532, 1541 (11th Cir. 1997) (citation omitted), “[a] federal court need not blind itself to the real
  gravamen of a claim because [the] plaintiff tenders a blindfold in the form of artificial
  characterizations in its complaint,” Oglesby v. RCA Corp., 752 F.2d 272, 278 (7th Cir. 1985)
  (quotation and citation omitted).

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  preempted, it must be dismissed to “preserve[] the central role of arbitration in our system of

  industrial self-government.” Allis-Chalmers, 471 U.S. at 219-20 (citation omitted); Snyder, 837

  F. Supp. 2d at 440-44 (dismissing state law claims after determining that they were preempted).

  These purposes are “so powerful as to displace entirely any state cause of action” that implicates

  the preemption principles of Section 301. Franchise Tax Bd. v. Constr. Laborers Vacation Tr. for

  S. Cal., 463 U.S. 1, 23 (1983).

         Here, Article 43 of the CBA broadly provides that any “dispute” “involving the

  interpretation of, application of, or compliance with, any provision of” the CBA and incorporated

  Official Playing Rules must be resolved exclusively in accordance with bargained-for arbitration

  procedures. CBA Art. 43, § 1. Plaintiff’s claims, which ask whether the NFL may “waive” its

  rights under the CBA and Official Playing Rules and whether the conduct alleged falls within the

  scope of the CBA and Official Playing Rules, plainly constitute such a dispute and are thus

  preempted. See Am. Compl. ¶¶ 79-81; Allis-Chambers, 471 U.S. at 219-20. As with Plaintiff’s

  negligence claims, both counts accordingly must be dismissed with prejudice.5 See Koshatka v.

  Phila. Newspapers, Inc., 762 F.2d 329, 334 (3d Cir. 1985) (“It is well established that in order to

  maintain a § 301 action on a labor contract, an employee must first exhaust the grievance and

  arbitration provisions of a contract”); Seborowski v. Pittsburgh Press Co., 188 F.3d 163, 168 (3d

  Cir. 1999) (stating that employees “must at least attempt to exhaust exclusive grievance and


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            Even if these claims somehow were not preempted, Counts Four and Five are not
  legally cognizable claims and nonetheless should be dismissed. Plaintiff recites no legal
  principle that would support the requested relief in Counts Four and Five, much less one that
  would survive application of the preemption rules in Section 301 of the LMRA. See McCray v.
  UNITE HERE, No. 13-6540 (RBK/JS), 2014 WL 3519098, at *8 (D.N.J. July 16, 2014)
  (dismissing claims where none of the plaintiff’s assertions supported any cause of action);
  Gutierrez v. TD Bank, No. 11-5533 (JLL), 2012 WL 272807, at *11-13 (D.N.J. Jan. 27, 2012)
  (dismissing claims that were not cognizable as a matter of law and where the plaintiffs failed to
  cite to any federal or state law under which they asserted such causes of action).

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  arbitration procedures established by the bargaining agreement.”); see also Houston NFL

  Holding L.P. v. Ryans, 581 S.W.3d 900, 910 (Tex. App. 2019) (holding that NFL player’s

  premises-liability claim was subject to arbitration because it involved interpretation of NFL

  Playing Field Specifications, which were part of Official Playing Rules), appeal docketed, No.

  19-1020 (Tex. Nov. 15, 2019).

         B.      Plaintiff’s State Law Disability Claims Are Preempted By The LMRA

         Plaintiff’s state law disability discrimination and failure to accommodate claims also

  cannot be resolved without interpreting the CBA and the incorporated Official Playing Rules.

  Although courts have held that the LMRA does not preempt LAD claims involving solely

  “factual questions that do not turn on an interpretation of the CBA,” the Third Circuit has

  expressly recognized that the LMRA will preempt LAD claims whose resolution requires

  interpretation of a CBA. Rutledge v. Int’l Longshoremen’s Ass’n, 701 F. App’x 156, 162 n.2 (3d

  Cir. 2017) (noting, in context of the LAD, that “construction of a CBA term may prove necessary

  in some contexts to determine a plaintiff's qualification for a particular position”); see also

  Opacity v. Aramark Corp., No. Civ.A.05CV5328(DMC), 2006 WL 1210531, at *1, *3-4 (D.N.J.

  Apr. 28, 2006) (finding LAD claim preempted because resolution of plaintiff’s claims required

  interpretation of seniority provisions). Here, Plaintiff’s LAD claims, which are based on the

  same set of facts as his negligence claim, indisputably require interpretation of the CBA and the

  incorporated Official Playing Rules.

          As a threshold matter, Plaintiff’s discrimination claims depends on his allegation that the

  NFL acted as his “employer.” See Thomas v. Cty. of Camden, 902 A.2d 327, 334 (N.J. Super. Ct.

  App. Div. 2006) (“the lack of an employment relationship between the plaintiff and the

  defendant will preclude liability” under the LAD). The NFL Player Contract entered into by all

  NFL Players and negotiated with the NFLPA, expressly states that the Club, and not the NFL, is

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  the Player’s employer. See CBA App. A ¶¶ 2, 14. As a result, to determine whether Plaintiff is

  entitled to bring a disability claim against the NFL, the Court must address the legal effect of the

  collectively-bargained Player Contract and interpret the CBA to determine whether there is a

  “legally recognizable employment relationship between” Plaintiff and the NFL for purposes of

  the LAD. Thomas, 902 A.2d at 334; Freeman v. Duke Power Co., 114 F. App’x 526, 532 (4th

  Cir. 2004) (finding wrongful discharge claim preempted where analysis of CBA was required to

  determine “what type of employment relationship existed” between the parties); see also Tate v.

  City of Albuquerque, 92 F. Supp. 3d 1152, 1154 (D.N.M. 2015) (finding state law claims

  preempted “because any evaluation of the totality of the employment relationship in this case

  will necessarily involve substantial construction of the CBA”).

         On the merits, the Court also would need to analyze the CBA and the incorporated

  Official Playing Rules to determine whether the NFL had a legitimate, non-discriminatory reason

  for its alleged refusal to permit Plaintiff to wear the shield. See Viscik v. Fowler Equip. Co., 800

  A.2d 826, 833 (N.J. 2002). The New Jersey Supreme Court’s decision in Maher v. New Jersey

  Transit Rail Operations, Inc. is controlling. 593 A.2d at 763-64. In Maher, the plaintiff, who

  was legally blind in one eye, claimed that his employer violated the LAD by refusing to exempt

  him from a safety rule requiring him to wear protective eyewear at all times while on duty. Id. at

  753. The Court held that the Railway Labor Act, which has the same preemptive force as the

  LMRA,6 preempted the LAD claim. Maher, 593 A.2d at 764. The New Jersey Supreme Court

  reasoned that evaluation of the employer’s argument that it was justified in refusing to allow the

  employee to return to work unless he complied with the safety rule required consideration of the



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           Voilas v. GMC, 170 F.3d 367, 375 (3d Cir. 1999) (explaining that the standards for
  preemption under the RLA and LMRA are “virtually identical” (quoting Hawaiian Airlines, Inc.
  v. Norris, 512 U.S. 246, 260 (1994))).

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  employer’s “conduct in following provisions of the collective-bargaining agreement.” Id. at 764;

  see also Boldt v. N. States Power Co., 904 F.3d 586, 593 (8th Cir. 2018) (holding that resolution

  of the plaintiff’s disability discrimination claim depended on whether the actions the employer

  took “‘were required according to’ its interpretation of the collective-bargaining agreement and

  its fitness-for-duty policy”); Reece v. Hous. Lighting & Power Co., 79 F.3d 485, 487 (5th Cir.

  1996) (finding discrimination claims preempted because, when the plaintiff attempts to show that

  the employer’s reason is pretextual, “the CBA would have to be interpreted because [the

  plaintiff] would have to challenge [the defendant’s] rights under the CBA”).

          Here, too, resolving Plaintiff’s disability discrimination claim will necessarily require

  consideration of Plaintiff’s obligation to seek approval for his accommodation under the Official

  Playing Rules, whether the NFL was justified in relying on these Official Playing Rules, and

  whether the NFL “waived” its right to enforce them under the CBA. See Am. Compl. ¶¶ 32-34.

  Because each of these issues “obviously require[s] an interpretation of the CBA” to resolve

  Plaintiff’s LAD claim, it is preempted. Bagby v. Gen. Motors Corp., 976 F.2d 919, 921-22 (5th

  Cir. 1992); see also, e.g., Maher, 593 A.2d at 763-64 (disability claim preempted where

  assessment of employer’s legitimate, non-discriminatory reason requires evaluation of CBA

  rights and responsibilities).

          Plaintiff’s failure to accommodate claim, which requires him to demonstrate that he

  requested a reasonable accommodation, is similarly preempted. The LMRA preempts failure to

  accommodate claims where, as here, their resolution requires the court to determine the

  employer’s obligations under the collective bargaining agreement with respect to making

  accommodations. See, e.g., Davis v. Johnson Controls, Inc., 21 F.3d 866, 868 (8th Cir. 1994)

  (LMRA preempted failure to accommodate claim that was directly related to the plaintiff’s



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  supervisor’s authority under the CBA to make accommodations); Cain v. Union Pac. R.R., No.

  97 C 1443, 1999 U.S. Dist. LEXIS 20174, at *7 (N.D. Ill. Jan. 5, 2000) (employee’s failure to

  accommodate claim preempted because any accommodation must be made in accordance with

  collective bargaining agreement requirements relating to seniority). As with his other claims,

  Plaintiff cannot establish his failure to accommodate claim without interpreting the Official

  Playing Rules governing the process for obtaining approval to wear a tinted visor. Those Official

  Playing Rules provide that tinted eye shields “may be worn only after the League office is

  supplied with appropriate medical documentation and approval is subsequently granted.” See

  Official Playing Rules, Rule 5, Section 4, Art. 3. Accordingly, this claim, too, must be

  dismissed.7

  II.    PLAINTIFF’S CLAIMS ARE BARRED BY WORKERS’ COMPENSATION
         EXCLUSIVITY

         The New Jersey Workers’ Compensation Act (“WCA”), which provides the “exclusive

  remedy” for the type of workplace injury alleged here, further bars Plaintiff’s claims. See N.J.

  Stat. Ann. § 34:15-8. The workers’ compensation system involves a “trade-off whereby

  employees relinquish their right to pursue common-law remedies in exchange for automatic

  entitlement to certain, but reduced, benefits whenever they suffer injuries by accident arising out

  of and in the course of employment.” Fermaintt ex rel. Estate of Lawlor v. McWane, Inc., 694 F.



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            Plaintiff’s claim that certain, unnamed members of NFL upper management are liable
  for “aid[ing] and abet[ting]” the alleged LAD violations (Am. Compl. ¶ 88) does not affect a
  finding of preemption. It is well-settled that a party need not be a signatory to a collective
  bargaining agreement for claims against that party to be preempted by the LMRA. See, e.g.,
  Antol v. Esposto, 100 F.3d 1111, 1117-18, 1121 (3d Cir. 1996) (wage law claims against
  individuals who were not parties to the CBA were preempted by the LMRA); Baker v. Farmers
  Elec. Coop., Inc., 34 F.3d 274, 282-84 (5th Cir. 1994) (“[C]ourts have governed their
  determinations on ... preemption by the necessity of referring to a CBA for resolution of the
  claim rather than by the individual status of the defendant … .”); Smith v. Houston Oilers, 87
  F.3d 717, 721 (5th Cir. 1996) (finding state law claims against NFL team officials preempted).

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  Supp. 2d 339, 344 (D.N.J. 2010) (citation omitted). Because Plaintiff alleges that the NFL is his

  “employer,” his claims are subject to the workers’ compensation exclusivity bar.

         On its face, Plaintiff’s Amended Complaint establishes that his claims derive solely from

  injuries sustained “by accident” and “in the course and scope of his employment”—he asserts

  that he was injured by colliding with an opposing player during a play in a preseason game. Am.

  Compl. ¶¶ 46-47, 62, 68, 71-72. These are precisely the types of workplace injuries that are

  subject to the exclusive jurisdiction of the workers’ compensation system. See, e.g., N.J. Stat.

  34:15-1; Pro-Football, Inc. v. Tupa, 51 A.3d 544, 552 (Md. 2012) (holding that NFL player’s

  injury to his back during warm-ups was an accidental injury incurred in the course and scope of

  employment); Gambrell v. Kansas City Chiefs Football Club, Inc., 562 S.W.2d 163, 164, 168

  (Mo. Ct. App. 1978) (holding that NFL player’s claims relating to injuries suffered when player

  was tackled in an exhibition football game were “squarely within the ambit” of the workers’

  compensation act); 2 LARSON’S WORKERS’ COMPENSATION LAW § 22.04 (noting that injuries in

  professional sports “are so routinely treated as compensable” that they “seldom appear in

  reported appellate decisions”).

         Plaintiff cannot avoid the exclusivity bar by cloaking his personal injury claims in terms

  of disability discrimination or failure to accommodate. First, the ADA does not permit the

  recovery Plaintiff seeks, which is essentially personal injury damages stemming from the NFL’s

  alleged failure to accommodate his claimed disability. See, e.g., Aponik v. Verizon Pa., Inc., 106

  F. Supp. 3d 619, 625 (E.D. Pa. 2015) (granting motion for summary judgment on plaintiff’s

  claim for bodily injury allegedly sustained as a result of employer’s failure to accommodate

  disability); McEwen v. UPMC Shadyside Presbyterian Hosp., No. 2:09-cv-1181, 2010 WL

  4879195, at *7 (W.D. Pa. Nov. 23, 2010) (holding that plaintiff could not recover under the ADA



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  for personal injuries allegedly caused by the employer’s failure to assign him to a sedentary

  position). The remedy for such injuries “lies in tort or pursuant to the Worker’s Compensation

  Act,” not federal anti-discrimination laws. Smith v. Blue Cross Blue Shield of Kan., Inc., 102

  F.3d 1075, 1077-78 (10th Cir. 1996).

         Second, the WCA bars recovery for bodily injuries—including those alleged by Plaintiff

  here—except in the case of egregious employer conduct, such as where the employer knows that

  injury is substantially certain to result from that denial. This exception to the exclusivity

  presumption applies “in only rare and extreme factual circumstances.” Kibler v. Roxbury Bd. of

  Educ., 919 A.2d 878, 882 (N.J. Super. Ct. App. Div. 2007). Thus, as the New Jersey Supreme

  Court has explained:

         [I]n order for an employer's act to lose the cloak of immunity of N.J.S.A.
         34:15-8, two conditions must be satisfied: (1) the employer must know that
         his actions are substantially certain to result in injury or death to the
         employee, and (2) the resulting injury and the circumstances of its infliction
         on the worker must be (a) more than a fact of life of industrial employment
         and (b) plainly beyond anything the Legislature intended the Workers’
         Compensation Act to immunize.

  Laidlow v. Hariton Mach. Co., 790 A.2d 884, 894 (N.J. 2002).

         Here, Plaintiff’s allegations fail to establish either condition of the exception. Both

  Plaintiff’s discrimination and negligence claims are premised solely on allegations sounding in

  negligence, and it is “contrary to the very definition of ‘negligence’ to categorize [such a] claim

  within the ‘intentional wrong’ exception to the [WCA].” Birch v. Wal-Mart Stores, Inc., No. 15-

  1296 (CCC-JBC), 2015 WL 8490938, at *4 (D.N.J. Dec. 9, 2015) (Cecchi, J.). Moreover,

  Plaintiff’s conclusory statement that the NFL’s actions were “intentional” and “substantially

  certain to result in injury,” without any supporting allegations, cannot plausibly demonstrate that

  the exception to workers’ compensation exclusivity should apply. See Shorter v. Quality Carrier,

  No. 14-4906 (RBK/JS), 2014 WL 7177330, at *3 (D.N.J. Dec. 16, 2014) (holding that the

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  plaintiffs’ “‘threadbare recital’ of the elements of an intentional wrong, coupled with legal

  conclusions,” could not survive a motion to dismiss based on workers’ compensation exclusivity

  (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009))). Likewise, even if true, Plaintiff’s

  allegation that the NFL had “knowledge that Plaintiff could not see well in lighted conditions

  without the use of a protective shield or glasses” and “also knew that Plaintiff was at risk above

  and beyond” the risks encountered by players without his alleged disability falls short of

  intentional wrong exception. Am. Compl. ¶ 73. “Mere knowledge . . . that a workplace is

  dangerous does not equate to an intentional wrong.” Van Dunk v. Reckson Assocs. Realty Corp.,

  45 A.3d 965, 978 (N.J. 2012). Even proof of a “strong probability” of harm will not suffice.

  Millison v. E.I. Du Pont de Nemours & Co., 501 A.2d 505, 514-15 (N.J. 1985). Rather, “a virtual

  certainty” of harm is required. Id.

         Nor has Plaintiff alleged sufficient facts to establish the second prong of the intentional

  wrong exception. Plaintiff’s alleged injury while playing professional football could not

  possibly be viewed as “plainly beyond anything the Legislature” intended to immunize. See

  Bustamante v. Tuliano, 591 A.2d 694, 698-99 (N.J. Super. Ct. App. Div. 1991); see also

  Gambrell, 562 S.W.2d at 166-68. To the contrary, Plaintiff’s injury is precisely “the type of . . .

  accident that . . . is a known danger in the industry.” Estate of Sellino v. Pinto Bros. Disposal,

  LLC, No. A-2064-12T1, 2013 WL 5300076, at *5 (N.J. Super. Ct. App. Div. Sept. 23, 2013);

  Evans v. Ariz. Cardinals Football Club, LLC, 262 F. Supp. 3d 935, 942 (N.D. Cal. 2017) (noting

  that “[i]n such a rough-and-tumble sport as professional football, player injuries” can be

  “inevitable”). Accordingly, Plaintiff’s claims, which are based on alleged injuries sustained

  during the course and scope of Plaintiff’s employment, are barred by workers’ compensation

  exclusivity as a matter of law.



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  III.    THE AMENDED COMPLAINT FAILS TO STATE A CLAIM UNDER THE LAD
          OR ADA

          In addition to being preempted and barred by workers’ compensation exclusivity,

  Plaintiff’s state and federal disability claims fail as a matter of law. To survive a motion to

  dismiss under Rule 12(b)(6), a plaintiff must plead “enough facts to state a claim to relief that is

  plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “[B]lanket

  assertion[s] of entitlement to relief” are insufficient, as are labels, conclusions, plainly false

  allegations, and formulaic recitations of the elements of a cause of action. Id. at 555 n.5;

  Ashcroft, 556 U.S. at 678 (“Threadbare recitals of the elements of a cause of action, supported by

  mere conclusory statements, do not suffice.”) Accordingly, “a complaint must do more than

  allege the plaintiff’s entitlement to relief. A complaint has to ‘show’ such an entitlement with its

  facts.” Fowler v. UPMC Shadyside, 578 F.3d 203, 211 (3d Cir. 2009). Plaintiff’s Amended

  Complaint fails to satisfy these fundamental standards of pleading and should therefore be

  dismissed with prejudice.

          A.      Plaintiff’s Amended Complaint Fails To Allege That He Exhausted His
                  Administrative Remedies As Required By The ADA

          Plaintiff’s federal disability discrimination claim fails at the threshold because Plaintiff

  failed to exhaust his administrative remedies. Under the ADA, a plaintiff must file a charge of

  discrimination with the U.S. Equal Employment Opportunity Commission within 300 days of the

  alleged discriminatory act and receive a “right to sue” letter before filing a lawsuit. 42 U.S.C. §

  2000e-5(e)(1). “A complaint does not state a claim upon which relief may be granted unless it

  asserts the satisfaction of the precondition to suit specified by [the ADA]: prior submission of the

  claim to the EEOC for conciliation or resolution.” Robinson v. Dalton, 107 F.3d 1018, 1022 (3d

  Cir. 1997).



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         Here, Plaintiff makes no reference to filing a complaint with the EEOC or the New Jersey

  Division of Civil Rights, as required by the ADA. Accordingly, Plaintiff’s ADA claim is barred

  because he failed to exhaust his administrative remedies. See, e.g., Meggiolaro v. Lagniappe

  Pharmacy Servs., No. 2:16-cv-3407 (WJM), 2016 WL 5660432, at *2 (D.N.J. Sept. 29, 2016)

  (dismissing ADA claims where plaintiff failed to file a charge with the EEOC); Gillespie v.

  Janey, No. 2:09-cv-00885 (SDW)(MCA), 2010 WL 777954, at *3 (D.N.J. Mar. 5, 2010)

  (granting motion to dismiss ADA claims due to failure to exhaust), aff'd, 441 F. App'x 890 (3d

  Cir. 2011).

         B.      Plaintiff’s Amended Complaint Fails To State A Claim For Disability
                 Discrimination Under the ADA Or The LAD

         Even if Plaintiff had exhausted his administrative remedies, his disability discrimination

  claims would fail. To state a claim for disability discrimination under the LAD and the ADA,

  Plaintiff must allege facts that, if proved, would demonstrate that: (1) plaintiff was “a disabled

  person within the meaning of the [statute]”; (2) plaintiff was “qualified to perform the essential

  functions of the [position of employment], with or without reasonable accommodations”; and (3)

  plaintiff “suffered an … adverse employment decision [because of the disability].” Taylor v.

  Phoenixville Sch. Dist., 184 F.3d 296, 306 (3d Cir. 1999) (citation omitted); see also Victor v.

  State, 952 A.2d 493, 503 (N.J. Super. Ct. App. Div. 2008) (noting New Jersey courts “look to the

  substantive standards established under federal law for guidance, particularly the Americans with

  Disabilities Act”), aff’d in relevant part, 4 A.3d 126 (N.J. 2010).

         Plaintiff pleads no facts to support the third element of his claims—that he suffered an

  adverse employment action because of his disability. To establish an adverse employment

  action, a plaintiff must allege more than “something that makes [him] unhappy, resentful or

  otherwise cause an incidental workplace dissatisfaction.” Victor, 952 A.2d at 505; see also El-


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  Sioufi v. St. Peter’s Univ. Hosp., 887 A.2d 1170, 1184 (N.J. Super. Ct. App. Div. 2005) (holding

  that employment action “unaccompanied by a demotion or similar action, is insufficient” to be

  “adverse”). Instead, Plaintiff must plead that a specific action “materially alter[ed] the terms and

  conditions of [his] employment” and “deprive[d] [him] of any employment privileges or

  opportunities.” Richter v. Oakland Bd. of Educ., 211 A.3d 1226, 1236 (N.J. Super. Ct. App. Div.

  2019). These typically include actions that result in an “employee’s loss of status, a clouding of

  job responsibilities, diminution in authority, disadvantageous transfers or assignments, and

  toleration of harassment by other employees.” Mancini v. Twp. of Teaneck, 794 A.2d 185, 207-

  08 (N.J. Super. Ct. App. Div. 2002).

         Plaintiff makes no such allegation here. Indeed, the only adverse action alleged by

  Plaintiff is his contention that he was denied an accommodation, which led to his alleged

  personal injury. But it is well-established that this is not a cognizable injury for purposes of a

  disability discrimination claim. See, e.g., Aponik, 106 F. Supp. 3d at 625 (ADA does not provide

  remedy for personal injury allegedly caused by violation of statute); Smith v. Blue Cross, 102

  F.3d at 1077-78 (same); Richter, 211 A.3d at 1236 (personal injury allegedly caused by

  employer’s failure to accommodate disability is not “adverse employment action” under LAD).

  His disability discrimination claims accordingly fail as a matter of law.

         C.      Plaintiff Fails To State A Claim For Failure To Accommodate

         Plaintiff also has failed to state a “failure to accommodate” claim under the disability

  laws. To state such a claim, Plaintiff must first allege sufficient facts to satisfy the elements of a

  disability discrimination claim, which, as explained above, he has not. See Rich v. Verizon N.J.

  Inc., No. 16-1895 (FLW) (DEA), 2017 WL 6314110, at *21 (D.N.J. Dec. 11, 2017) (“Plaintiff

  must first establish a prima facie case of discrimination under the ADA in order to recover for an

  alleged failure to accommodate.”).

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         Yet even if Plaintiff could make this threshold showing, he also must allege facts that

  demonstrate he “requested accommodations or assistance for [his] disability,” and that his

  “employer made no good faith effort to assist.” Fitzgerald v. Shore Mem’l Hosp., 92 F. Supp. 3d

  214, 237 (D.N.J. 2015); see also Royster v. N.J. State Police, 152 A.3d 900, 910 (N.J. 2017) (to

  state a failure to accommodate claim under the LAD, plaintiff must show he made his employer

  “aware of the basic need for an accommodation,” yet his employer “failed to provide a

  reasonable accommodation”). Plaintiff has not met this standard here. His lone allegation

  relating to his accommodation claim—that he “sought a reasonable accommodation i.e. the use

  of the protective shield in order [for him] to perform the requirements of his job” (Am. Compl.

  ¶¶ 43, 64) —is entirely conclusory and insufficient to save the claim. See Semple v. Donahoe,

  No. 13-5198 (ES), 2014 WL 4798727, at *4-5 (D.N.J. Sept. 25, 2014) (dismissing failure to

  accommodate claim where “pleadings completely omit the elements of disability discrimination

  in favor of broad-brush, conclusory allegations”).

         D.      Plaintiff’s Amended Complaint Fails To State A Claim Against John Does 6-
                 10 For Aiding And Abetting Discrimination

         Plaintiff’s Amended Complaint attempts to extend his claims to unidentified members of

  NFL “upper management” that Plaintiff alleges are individually liable for discrimination under

  an “aid[ing] and abet[ting]” theory of liability. Am. Compl. ¶ 88.

         This new claim fails for two reasons. First, this Court has consistently held that there is

  no individual liability under the ADA. See, e.g., Peoples v. Montclair State Univ., No. 15-5511

  (CCC)(MF), 2018 WL 646076, at *2 (D.N.J. Jan. 30, 2018) (Cecchi, J.) (dismissing ADA claims

  against 28 unnamed individual defendants); DeSantis v. N.J. Transit, 103 F. Supp. 3d 583, 590

  (D.N.J. 2015) (finding that there is no individual liability under the ADA). Second, there can be

  no aiding and abetting liability against an individual where the underlying claims against an


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  employer fail. See Tourtellotte v. Eli Lilly & Co., 636 F. App’x 831, 856 (3d Cir. 2016) (citing

  Cicchetti v. Morris Cnty. Sherriff’s Office, 947 A.2d 626, 645 (N.J. 2008)). As discussed supra

  Section III B-C, the Amended Complaint fails to state a claim for disability discrimination or

  failure to accommodate against the NFL. This also mandates dismissal of those same claims

  against the individual defendants.

          However, even assuming Plaintiff has pled a disability discrimination claim against the

  NFL under the LAD (and he has not), the law provides for individual liability only when “(1) the

  party whom the defendant aids [performs] a wrongful act that causes an injury; (2) the defendant

  [is] generally aware of his role as part of an overall illegal or tortious activity at the time that he

  provides the assistance; [and] (3) the defendant [] knowingly and substantially assist[s] the

  principal violation.” Hurley v. Atl. City Police Dep’t, 174 F.3d 95, 127 (3d Cir. 1999). Aiding

  and abetting liability thus requires “active and purposeful conduct,” Tarr v. Ciasulli, 853 A.2d

  921, 928-29 (N.J. 2004), and an individual cannot be liable as an aider and abettor unless he or

  she “provides ‘substantial assistance’ to [another individual committing NJLAD violations].”

          Plaintiff’s Amended Complaint alleges no facts about the individual defendants’

  purported role in the alleged discrimination against Plaintiff, let alone facts that satisfy the

  elements of an aiding and abetting claim. Indeed, he is unable to identify even a single

  individual by name. See Am. Compl. ¶ 6 (“John Does 6-10 are/were people in upper

  management of the NFL whose identities are presently unknown to Plaintiff”); see Peoples, 2018

  WL 646076, at *2 (dismissing ADA claims against 28 unnamed individual defendants where the

  complaint was “devoid of factual allegations” concerning their actions, “leaving the Court unable

  to ascertain if and how the individual [d]efendants acted in their official capacities”). As such,

  Plaintiff has failed to state a plausible claim for aiding and abetting discrimination.



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                                        CONCLUSION

         For all of these reasons, the Court should dismiss Plaintiff’s Amended Complaint in its

  entirety with prejudice.

  Dated: August 4, 2020

                                             Respectfully submitted,

                                             ___/s/ Richard Hernandez____________________

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